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                                     UNITED STATES
                         SECURITIES AND EXCHANGE COMMISSION
                                                  Washington, DC 20549



                                                      Form 10-K
                                    FOR ANNUAL AND TRANSITION REPORTS
                                   PURSUANT TO SECTIONS 13 OR 15(d) OF THE
                                      SECURITIES EXCHANGE ACT OF 1934

   (Mark
    One)

            ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE
             ACT OF 1934

                                         For the fiscal year ended: June 30, 2004

                                                             OR

            TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
             EXCHANGE ACT OF 1934

                        For the transition period from                        to

                                           Commission file number: 001-31825



                           THE FIRST MARBLEHEAD CORPORATION
                                    (Exact name of registrant as specified in its charter)

                          Delaware                                                        XX-XXXXXXX
                (State or other jurisdiction of                                        (I.R.S. Employer
               incorporation or organization)                                         Identification No.)

                  The Prudential Tower
              800 Boylston Street, 34th Floor
                  Boston, Massachusetts                                                  02199-8157
           (Address of principal executive offices)                                      (Zip Code)

                            Registrant's telephone number, including area code: (617) 638-2000


                                 Securities registered pursuant to Section 12(b) of the Act:

              Common Stock, $.01 par value                                    New York Stock Exchange
                  (Title of each class)                                (Name of each exchange on which registered)

                              Securities registered pursuant to Section 12(g) of the Act: None




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 guarantee products for student loan programs pursuant to which TERI agrees to reimburse lenders for all unpaid principal
 and interest on their defaulted student loans, in exchange for a fee based on the loan type and risk profile of the borrower.
 Because TERI is a not-for-profit corporation, defaults on TERI-guaranteed student loans have been held to be non-
 dischargeable in bankruptcy proceedings. Since its inception in 1985, TERI has guaranteed approximately $7.1 billion of
 private education loans for students at more than 6,000 schools nationally and internationally.

      In 2001, we entered into a strategic relationship with TERI, intended to enhance significantly our risk management
 and loan processing capabilities. We acquired TERI's historical database and loan processing operations, but not its
 investment assets or guarantee liabilities. In addition, 161 members of TERI's staff became our employees. TERI remains,
 however, an independent, private not-for-profit organization with its own management and board of directors. We issued
 promissory notes totaling $7.9 million and paid approximately $1.0 million in cash to TERI in connection with the
 transaction. We also granted TERI a right to receive a 25% residual interest in the securitizations of TERI-guaranteed
 loans that we facilitate in the future, in exchange for TERI's agreement to guarantee those loans.

      In connection with the transaction, we also entered into a series of agreements with respect to loan processing
 services, database updates and the securitization of TERI-guaranteed loans. These include a master servicing agreement
 and a database purchase and supplementation agreement with TERI. Pursuant to the master servicing agreement, TERI
 engages us to provide loan origination, pre-claims, claims and default management services. Under TERI's agreements
 with lenders, lenders delegate their loan origination functions to TERI, and TERI has the right to subcontract these
 functions. Pursuant to the database purchase and supplementation agreement, TERI provides updated information to us
 about the performance of the student loans it has guaranteed, so that we can continue to supplement and enhance our
 database. This agreement has a term through June 2006 and provides that either party may unilaterally exercise a right to
 renew the contract for an additional five-year term. We pay TERI a monthly fee of approximately $62,000, and TERI also
 maintains a perpetual right to access the data we own solely for use in its guarantee business.

       We also entered into a master loan guaranty agreement, under which we have granted to TERI a right of first refusal
 to guarantee our private label clients' existing and future loan programs. We also agreed to create a market for our private
 label clients to sell TERI-guaranteed loans through securitizations that we facilitate. Under our agreement, we must use
 our best efforts to cause a securitization of a limited category of TERI-guaranteed loans at least twice per year, subject to
 the lender having a specified minimum loan volume at the semi-annual purchase date. Our master loan guaranty
 agreement has a term through June 2006, with a renewal option exercisable by either party for an additional five-year
 term.

      The master loan guaranty agreement was intended in part to create a framework for structuring future relationships
 among lenders, TERI and us. The master loan guaranty agreement contemplates several ancillary documents that set forth
 the various obligations among the parties, including:

        •       program guidelines for each prospective lender establishing acceptable terms for the origination,
                underwriting and servicing of program loans, including the borrower eligibility criteria, credit
                requirements, loan limits, deferral options and repayment terms, as well as the lender's forms of application
                and promissory note;

        •       a form of guaranty agreement between TERI and a prospective lender providing for a full and
                unconditional guarantee of principal and accrued interest when a program loan becomes more than
                180 days delinquent, the borrower dies or the borrower seeks discharge of the loan in a bankruptcy
                proceeding;

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        •       a form of loan origination agreement between TERI and a prospective lender pursuant to which the lender
                delegates its loan origination functions to TERI, and TERI agrees to receive loan applications, perform
                underwriting according to the standards in the program guidelines and approve and deny applications.
                TERI has agreed to subcontract these loan origination functions to us pursuant to the master servicing
                agreement described above;

        •       a form of note purchase agreement between us and a prospective lender setting forth the terms and
                conditions under which a special purpose entity, such as a securitization trust, that we establish purchases
                program loans from the lender; and

        •       a form of deposit and security agreement, or a security agreement alone, providing for the payment of a
                portion of the guarantee fee under the guaranty agreement between TERI and a prospective lender to an
                account at a national bank and subject to a security interest to pay guarantee claims.

     As contemplated by the master loan guaranty agreement, prospective lenders agree to provide initial loan funding and
 own the loans until they are purchased in a securitization transaction that we facilitate. The lender provides representations
 and warranties that support the loan for the securitization pursuant to the requirements of the rating agencies.

      During fiscal 2002, 2003 and 2004, processing fees from TERI represented approximately 34%, 23% and 18%,
 respectively, of our total service revenue.

 Competition

      The private student loan industry is highly competitive with dozens of active participants. Although we are not a
 lender and therefore do not directly compete with lenders for loan originations, we derive a substantial portion of our
 revenue from providing to lenders outsourced services for their private student loan programs. Private student loan
 originators include large financial institutions and their affiliates, such as Bank One Corporation, Citigroup, Bank of
 America Corporation, Wells Fargo & Company and KeyCorp, as well as specialized educational finance providers
 including SLM Corporation, which is also known as Sallie Mae, and Access Group, Inc. Some of these loan originators
 are currently our clients.

      To the extent that lenders possess or choose now or in the future to develop an internal capability to provide any of
 the services that we currently provide, they would compete directly with us. For example, a loan originator could establish
 a program to securitize the student loans it originates, rather than engage us to structure and facilitate the securitization. In
 addition, lenders in the education loan market historically have primarily focused their lending activities on federal loans
 because of the relative size of the federal loan market and because the federal government guarantees repayment of these
 loans. The demand for our services could decline if lenders place additional emphasis on the private education loan market
 and offer the services we provide. We believe the most significant competitive factors in terms of developing private
 student loans are technical and legal competence, cost, reliability and quality of service and speed of service.

      We coordinate a range of services in connection with private loan programs, including program design, application
 processing, credit underwriting, customer service, loan documentation, disbursement, technical support, legal and
 compliance support and advisory services in connection with loan financing. We differentiate ourselves from other service
 providers as a result of the range of services we can provide our clients. We are aware of two competitors, Sallie Mae and
 Servus Financial Corporation, which is an affiliate of Wells Fargo & Company, that offer a similar range of services to
 other lenders. Our business could be adversely affected if Sallie Mae's recently announced program to originate private
 student loans directly becomes successful or if Sallie Mae seeks to market more aggressively to third parties the full range
 of services for private loan programs that we provide. In addition, our

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